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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                               :
RAHUL MANCHANDA, ESQ.,                         :
                                               :
                     Plaintiff,                :
                                               :           19cv5121
              -against-                        :
                                               :           SCHEDULING ORDER
NAVIENT STUDENT LOANS and                      :
EDUCATIONAL CREDIT MANAGEMENT                  :
CORPORATION,                                   :
                                               :
                     Defendants.               :


WILLIAM H. PAULEY III, Senior United States District Judge:

              Plaintiff and Defendant Educational Credit Management Corporation shall submit

a joint proposed discovery schedule by October 29, 2020.

Dated: October 22, 2020
       New York, New York

                                                   SO ORDERED:
